       Case 1:25-cv-00596-ELH          Document 21        Filed 03/07/25      Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION

 AMERICAN FEDERATION OF STATE,
 COUNTY AND MUNICIPAL EMPLOYEES,
 AFL-CIO, et al.,

                        Plaintiffs,

                           vs.
                                                         Civil Action No. 1:25-cv-00596
 SOCIAL SECURITY ADMINISTRATION,
 et al.,

                      Defendants.




            MOTION FOR TEMPORARY RESTRAINING ORDER, PRELIMINARY
                   INJUNCTION, AND/OR 5 U.S.C. § 705 STAY

       Pursuant to Federal Rule of Civil Procedure 65 and 5 U.S.C. § 705, Plaintiffs American

Federation of State, County and Municipal Employees, AFL-CIO; Alliance for Retired Americans;

and American Federation of Teachers (together, “Plaintiffs”), on behalf of their members, hereby

move for a temporary restraining order, preliminary injunction, and/or 5 U.S.C. § 705 stay:

       1.      Enjoining or staying the U.S. DOGE Service, U.S. DOGE Service Temporary

Organization, and Defendants Musk and Gleason’s (collectively, “DOGE Defendants”) access,

inspection, disclosure, or use of any information, including but not limited to return information,

personally identifiable information, or non-anonymized information, that is contained in or

obtained, derived, copied, or exported from SSA information systems and systems of record;

       2.      Enjoining or staying all Defendants’ access, inspection, disclosure, or use of any

SSA information system or system of record, or data contained in or obtained, derived, copied, or

exported therefrom, for any purpose other than those permitted by the Privacy Act, a published


                                                1
        Case 1:25-cv-00596-ELH          Document 21        Filed 03/07/25      Page 2 of 4



System of Records Notice, the Internal Revenue Code, and the Federal Information Security

Modernization Act;

       3.      Enjoining or staying DOGE Defendants’ or purported Acting Commissioner

Dudek’s direction or control of access, inspection, disclosure, or use of any SSA information

system or system of record, or data contained in or obtained, derived, copied, or exported

therefrom, including but not limited to return information, personally identifiable information, and

non-anonymized information;

       4.      Directing all Defendants to file, within 24 hours of the issuance of any grant of

injunctive relief, a notice confirming that DOGE Defendants no longer have access to SSA

information systems or systems of record or any data contained in or obtained, derived, copied, or

exported therefrom;

       5.      Ordering DOGE Defendants to disgorge or delete all unlawfully obtained,

disclosed, or accessed data, including but not limited to return information, personally identifiable

information, or non-anonymized data, from any SSA information system or system of record they

could not lawfully access prior to January 20, 2025;

       6.      Prohibiting DOGE Defendants from installing any software on SSA devices,

information systems, or systems of record and ordering that any software previously installed be

removed; and

       7.      Prohibiting DOGE Defendants from accessing, altering, or disclosing any SSA

computer or software code.

       As set forth in more detail in the accompanying memorandum, SSA Defendants have

unlawfully provided access to, and DOGE Defendants have unlawfully accessed, SSA’s systems

of record and the highly sensitive, personally identifiable, and non-anonymized information of



                                                 2
        Case 1:25-cv-00596-ELH            Document 21         Filed 03/07/25      Page 3 of 4



Plaintiffs’ members contained therein. Defendants act in violation of the Privacy Act, the Social

Security Act, the Internal Revenue Code, and the Administrative Procedure Act, as well as in a

manner that is ultra vires. Plaintiffs and their members have suffered and will continue to suffer

injuries absent injunctive relief.

        Plaintiffs respectfully request a hearing on this emergency motion at the Court’s earliest

convenience. They further request that the Court exercise its discretion to waive or set at $0 the

security requirement of Fed. R. Civ. P. 65(c) because Defendants will face no monetary injury

from any relief ordered by the Court. See Pashby v. Delia, 709 F.3d 307, 332 (4th Cir. 2013)

(“[T]he district court retains the discretion to set the bond amount as it sees fit or waive the security

requirement.” (citations omitted)); see Nat’l Ass’n of Diversity Officers in Higher Educ. v. Trump,

No. 25-CV-333, 2025 WL 573764, at *29 (D. Md. Feb. 21, 2025) (setting a nominal bond of zero

dollars).

 Dated: March 7, 2025                            Respectfully submitted,

                                                 _____________________________
                                                 Alethea Anne Swift (Bar No. 30829)
                                                 Mark B. Samburg (Bar No. 31090)
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                                                 Counsel for Plaintiffs
                                                 *
                                                     Admission to this Court pending
                                                 +
                                                     Admitted pro hac vice


                                                     3
       Case 1:25-cv-00596-ELH           Document 21        Filed 03/07/25     Page 4 of 4



                                   CERTIFICATE OF SERVICE

       I, Alethea Anne Swift, certify that I filed the foregoing document with the Clerk of Court

for the United States District Court for the District of Maryland, Northern Division, by using the

CM/ECF system, which sent a notice of such filing to all registered CM/ECF users who have

appeared in this case. I also emailed a copy of the motion and all its attachments to counsel at the

Department of Justice.


                                                                        /s/ Alethea Anne Swift
                                                                        Counsel for Plaintiffs
